       Case 1:25-cv-00352-CJN           Document 21        Filed 02/10/25     Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 AMERICAN FOREIGN SERVICE
 ASSOCIATION, et al.,

        Plaintiffs,

 v.                                                   Civil Action No. 1:25-cv-00352-CJN

 PRESIDENT DONALD TRUMP, et al.,

        Defendants.


                                 NOTICE OF CORRECTION

       At the hearing on February 7, 2025, held approximately three hours after the TRO motion

was filed, counsel for Defendants made two factual representations in good faith on the basis of

facts provided by Defendants immediately prior to the hearing that require correction after

receiving additional information from Defendants in the days following the hearing.

       With the benefit of more time to review available data over the weekend, Defendants came

to understand that more than 500 employees were placed on administrative leave prior to February

7 and notified counsel for Defendants of this new information after the Court had entered the

Order. As explained in the recently filed declaration, approximately 2,140 employees had been

placed on administrative leave by the time of the TRO hearing. See Decl. of Peter Marocco, ECF

No. 20-1, ¶ 12. In compliance with the Court’s temporary restraining order, all of these employees

were removed from administrative leave. Id. ¶ 18.

       Additionally, although Secretary Rubio’s January 24, 2025 directive only froze future

contract obligations, id. ¶ 3, payments on existing contracts were paused as well as part of efforts

by agency leadership to regain control of the organization’s spending and conduct a comprehensive




                                                 1
        Case 1:25-cv-00352-CJN          Document 21        Filed 02/10/25     Page 2 of 2




review of its programs. See id. ¶¶ 5–10. Counsel for Defendants was unaware of this development

prior to the hearing.

       Defendants sincerely regret these inadvertent misstatements based on information provided

to counsel immediately prior to the hearing and have made every effort to provide reliable

information in the declaration supporting their opposition to a preliminary injunction.

Dated: February 10, 2025                            Respectfully submitted,
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